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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
                                                §
VS.                                             §     CRIMINAL NO. H-06-52-1
                                                §
                                                §
MANUEL IVAN CAVAZOS-AGUIRRE                     §


                                          ORDER

       Defendant Manuel Ivan Cavazos-Aguirre filed a Pro Se Notice of Appeal. The magistrate

judge will appoint counsel for the defendant for appeal purposes.



              SIGNED on September 23, 2010, at Houston, Texas.

                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
